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                EXHIBIT O
         Case 2:24-cv-00170-JHC      Document 81-15      Filed 03/17/25   Page 2 of 2
            , , ,        A PRIM~IR Virtual Event
            , ~~. 2021 IACUC Conference
             ~ , • April 14-16




                   Aubrey Schoenleben, PhD, CPIA
                                   University of Washington
Aubrey Schoenleben, PhD, CPIA, is a Review Scientist in the Office of Animal Welfare at the
University of Washington (UW). Aubrey earned her bachelor's degree in Neuroscience &
Psychology from Allegheny College and her doctoral degree in Neurobiology from University of
Maryland, Baltimore. Aubrey joined UW's Office of Animal Welfare as a review scientist and
scientific liaison in 2013, and served as an IACUC member since 2015. Aubrey is also co-chair
of the Compliance Unit Standard Procedure (CUSP) project, a burden reducing initiative of the
21st Century Cure Act.

Presentation(s):
COB - At the CUSP: An Option to Address Administrative Burden at the Institutional Level
FridaiApril 16,2021
11 :45 AM - 12:45 PM ET




                                                                          Guillermo Decl. Exhibit O
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